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 1    RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
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 6    Proposed Counsel for Chapter 11 Debtor and Debtor in Possession
 7
                                 UNITED STATES BANKRUPTCY COURT
 8                               SOUTHERN DISTRICT OF CALIFORNIA

 9    In re:                                                Case No.: 21-03935-LT11

10    GLOBAL WINDCREST I, LLC,
                                                            Chapter 11 Case
11                   Debtor and Debtor in Possession.
12                                                          DEBTOR’S EMERGENCY MOTION
                                                            FOR ENTRY OF AN ORDER FOR
13                                                          JOINT ADMINISTRATION OF
                                                            RELATED CHAPTER 11 CASES
14                                                          PURSUANT TO RULE 1015(b) OF THE
                                                            FEDERAL RULES OF BANKRUPTCY
15                                                          PROCEDURE AND RULE 1015 OF THE
16                                                          LOCAL BANKRUPTCY RULES;
                                                            DECLARATION OF C.W. TUCKER
17                                                          LEWIS IN SUPPORT THEREOF

18

19
               Pursuant to Rule 1015-1(b) of the Federal Rules of Bankruptcy Procedure, Rule 1015 of the
20
      Local Bankruptcy Rules, and the “Guidelines For The…Joint Administration Of Related Debtor
21
      Entities” (see CSD 1514), Global Windcrest I, LLC (“GW 1”), chapter 11 debtor and debtor in
22
      possession, hereby moves, on an emergency basis1, for the entry of an order jointly administering
23

24    1
        The Debtors submit that expedited, interim relief is appropriate in order for the Debtors and other
      parties to immediately be able to realize the cost and time savings anticipated to be achieved by
25    joint administration. For example, the Debtors anticipate filing a number of motions and
26    applications during the first few weeks of these cases, and believe that entry of a joint
      administration order now will assist with reducing duplicative and potentially confusing multiple,
27    substantially similar filings. The Debtors’ proposed interim order provides for an opportunity for
      creditors to oppose the relief requested herein.
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 1    the chapter 11 bankruptcy case of GW 1 with the chapter 11 bankruptcy case of Global Windcrest
 2    II, LLC (“GW 2”, and together with GW 1, the “Debtors”), and designating the case of GW 1 as the
 3    lead case. A similar motion for joint administration has been filed in GW 2’s bankruptcy case.
 4    Through the motions, the Debtors request that this Court enter an order in substantially the form
 5    attached as Exhibit 3, providing for the joint administration of these cases.
 6                                     I.     STATEMENT OF FACTS
 7           1.        On October 1, 2021, the Debtors each commenced their respective bankruptcy cases
 8    by filing voluntary petitions for relief under chapter 11 of the United States Code (the “Bankruptcy
 9    Code”).
10           2.        GW 1 is the owner of that certain real property located at 8940 Four Winds Drive,
11    Windcrest, Texas 78239 (the “GW 1 Property”) and GW 2 is the owner of that certain real property
12    located at 8930 Four Winds Drive, Windcrest, Texas 78239 (the “GW 2 Property” and together
13    with the GW 1 Property, the “Properties”). The Properties are adjacent office buildings, as shown
14    in the map attached as Exhibit 1 to the annexed Declaration of C.W Tucker Lewis (the “Lewis
15    Declaration”).
16           3.        GW 1 is a limited liability company with two members: Aulukista, LLC
17    (“Aulukista”), which purportedly holds 68% of the membership interest in GW 1; and Global
18    Windcrest Partners, LLC, which holds 32% of the membership interests in GW 1. GW 2 is also a
19    limited liability company with the same two members holding the same respective percentage of
20    membership interests.
21           4.        Global Building, LLC is the manager (“Manager”) of both GW 1 and GW 2. The
22    managing member and chief executive officer of Global Building, LLC is C.W. Tucker Lewis.
23    Pursuant to the Debtors’ respective Operating Agreements, the Manager is vested with broad
24    powers and authority to manage the business and affairs of the Debtors.
25           5.        GW 1 was formed to acquire, improve, renovate, lease, and sell a recently vacated
26    five (5) story office building on approximately 4.5 acres of land (the GW 1 Property). The GW 1
27    Property’s $3.5 million acquisition cost was to be paid by member contributions, and the extensive
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 1    anticipated construction, renovation, improvement work necessary to rehabilitate the building and
 2    make it suitable for upscale office occupancy was to be funded through debt – i.e. borrowing.
 3             6.    GW 2 was formed later, and acquired the contiguous property of approximately 3
 4    acres on which an office building with improvement possibilities and upside potential was likewise
 5    present.
 6             7.    Aulukista is indirectly owned and controlled by an entity known as Calista
 7    Corporation (“Calista”) through various wholly-owned subsidiaries, all of which are under the
 8    control of an individual named Sharon Lechner, who purports to be the President of each such
 9    Calista subsidiary. After receiving investment documentation and asking numerous questions,
10    Calista expressed interest in providing equity for the GW 1 project (i.e. acquiring a membership
11    interest through one of its multiple subsidiaries), but only on the condition that Calista be allowed to
12    use another of its affiliates/subsidiaries as lender, providing the financing necessary to fund
13    construction, renovation, and improvement of the GW 1 Property as well.
14             8.    Ultimately, Calista agreed to acquire the majority membership interest in GW 1 by
15    and through Aulukista, with Sharon Lechner as Aulukista’s president, as Calista’s conduit.
16             9.    GW 1 was formed in April 2018 and took title to the GW 1 Property one month
17    later.   In April 2019 Calista utilized another of its wholly-owned subsidiaries, Settler’s Bay
18    Properties, Inc. (“Settler’s Bay”), with Sharon Lechner again as President, to provide the
19    renovation/construction loan necessary to rehabilitate and improve the GW 1 Property, pursuant to
20    that certain Loan Agreement dated April 19, 2019, pursuant to which GW 1 borrowed the sum of
21    $7 million. On April 22, 2019, a first position trust deed was recorded on the GW 1 Property in
22    Texas.
23             10.   These bankruptcy cases were filed as a result of pending and numerous disputes
24    between and among the Debtors, and Aulukista, Settler’s Bay and Calista, including, without
25    limitation, disputes regarding the refinancing of the GW 1 Property, the funding for the GW 2
26    Property, and what the Debtors believe constitutes a coordinated scheme by Aulukista, Settler’s
27    Bay and Calista to improperly obtain ownership of the Properties to the detriment of all other
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 1    creditors and interest holders of the Debtors, as discussed in detail in that certain “Amended Cross-
 2    Complaint For Injunctive And Declaratory Relief” filed by the Debtors against Aulukista and
 3    Calista, which is pending in the Superior Court of the State of California County of San Diego,
 4    Central Division, Case No. 37-2021-0022783-CU-MC-CTL.2                A true and correct copy of the
 5    amended cross-complaint is attached as Exhibit 2 to the Lewis Declaration.
 6           11.     These bankruptcy cases were filed to stop the foreclosure sale of the GW 1 Property,
 7    and provide a breathing spell for the Debtors to attempt to obtain refinancing and/or funding, and/or
 8    restructure their debt obligations, on terms and in a manner that is in the best interest of all creditors
 9    and interest holders. If Aulukista, Settler’s Bay, and Calista are permitted to further execute their
10    plan to improperly obtain ownership of the Properties in violation of their respective obligations
11    and duties to the Debtors and other interest holders, and a foreclosure occurs, not only would GW 1
12    lose its ownership interest in the GW 1 Property, but GW 2 will be disadvantaged because its
13    tenants will not have legal access to the amenities on the GW 1 Property pursuant to a reciprocal
14    access agreement between the Debtors, because it may very well not be able to meet its required
15    parking ratio, and GW 2 may be in breach of leases it has already executed. Moreover, assuming
16    Calista, Aulukista, Settler’s Bay and Ms. Lechner are unsuccessful in their plan to misappropriate
17    the entirety of the GW 2 Property as well, GW 2 will be competing against Calista (which will then,
18    through Settler’s Bay, own the contiguous GW 1 Property) for tenants and will be at a disadvantage
19    in doing so because of the lack of amenities and adequate parking.
20                                          II.    BASIS FOR RELEIF

21           Joint administration of the Debtors’ cases is warranted and appropriate under Rule 1015(b)
22    of the Federal Rules of Bankruptcy Procedure, which provides in relevant part that the Court may
23    order the joint administration of estates when two or more petitions are pending in the same court as
24    a debtor and an affiliate. The Debtors share common ownership. Each Debtor is owned by the
25    exact same entities in the exact same percentages. The Manager of the Debtors is the same entity.
26
      2
27     The underlying complaint filed in that matter by Aulukista and Calista against the Debtors and the
      Manager has been dismissed, but the Debtors’ cross-complaint remains pending.
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 1    As such, the Debtors are “affiliates” and “insiders” as those terms are defined in the Bankruptcy
 2    Code. See 11 U.S.C. § 101.
 3            Additionally, GW 1’s secured creditor Settler’s Bay is affiliated with GW 1’s and GW 2’s
 4    majority member Aulukista, through common ownership of both entities by Calista and identical
 5    management of both entities by Sharon Lechner, who is President of both Aulukista and Settler’s
 6    Bay.
 7            Additionally, the Debtors appear to share some common creditors, as set forth on the each
 8    Debtors’ respective Verification Of Creditor Matrix (see Docket Entry No. 1).
 9            Finally, the Debtors’ respective real estate assets share physical proximity – indeed, they are
10    adjacent and there appears to be a reciprocal access agreement between the Debtors.
11            The Debtors believe that the joint administration of these cases will avoid duplicative
12    expenses and will ensure that creditors and interested parties in the cases will receive appropriate
13    notice of all pertinent matters. In addition, the Debtors believe that the joint administration of these
14    cases, including the use of a single pleadings docket, the combining of notices to interested parties
15    of both estates, and the joint handling of purely administrative matters will aid in expediting the
16    cases and rendering the process less costly, without prejudicing the substantive rights of any
17    creditor.
18            Granting the joint administration of these two cases will eliminate the further need for the
19    Debtors to file duplicative motions and orders in each of these cases when seeking relief that is
20    common to both Debtors, will avoid the further waste of judicial resources related to, for example,
21    the docketing of identical motions, declarations and orders in each of the cases, and will allow the
22    Debtors to avoid copying costs and service costs associated with filing and serving duplicative
23    motions and other pleadings in the cases that seek collective relief.
24            In the event that the Court orders the joint administration of these cases, the Debtors
25    respectfully request that the Court approve the following caption and that GW 1’s case be
26    designated as the lead case:
27    ///
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 1    ///
 2    ///
 3
      In re:                                             Case No.: 21-03935-LT11
 4

 5    GLOBAL WINDCREST I, LLC,                           [Jointly administered with: 21-03938-LT11]

 6                            Debtor.                    Chapter 11 Cases

 7    _________________________________
      In re:
 8

 9    GLOBAL WINDCREST II, LLC

10                            Debtor.

11    _________________________________
12
            Affects both Debtors
13
            Affects Global Windcrest I, LLC
14
            Affects Global Windcrest II, LLC
15

16                                             III.     CONCLUSION
17              Accordingly, the Debtors respectfully requests that this Court enter an order, in the form
18    lodged concurrently herewith:
19              (a)    authorizing the joint administration of the Debtors’ cases;
20              (b)    approving the form of caption suggested herein; and
21              (c)    granting such other and further relief as the Court deems just and proper.
22
      Dated: October __, 2021                          LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
23
                                                       By:       /s/ Krikor J. Meshefejian
24                                                               RON BENDER
                                                                 KRIKOR J. MESHEFEJIAN
25                                                               LEVENE, NEALE, BENDER, YOO
                                                                 & BRILL L.L.P.
26
                                                                 Proposed Counsel for Chapter 11 Debtor and
27                                                               Debtor in Possession

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 1                             DECLARATION OF C.W. TUCKER LEWIS
 2           I, C.W. Tucker Lewis, hereby declare as follows:

 3           1.      I am the chief executive officer and managing member of Global Building, LLC.

 4    Global Building, LLC is the manager (“Manager”) of Global Windcrest I, LLC (“GW 1”) and

 5    Global Windcrest II, LLC (“GW 2” and together with GW 1, the “Debtors”). In my capacity as the
 6    chief executive officer and managing member of the Manager, I manage the business and affairs of
 7    each of the Debtors, and I have full and complete authority, power and discretion to manage and
 8    control the business, affairs and properties of the Debtors, to make all decisions regarding those
 9    matters and to perform any and all other acts or activities customary or incident to the management
10    of the Debtors’ respective businesses. I have personal knowledge of the facts set forth herein,
11    unless otherwise indicated.
12           2.      On October 1, 2021, the Debtors each commenced their respective bankruptcy cases
13    by filing voluntary petitions for relief under chapter 11 of the United States Code (the “Bankruptcy
14    Code”).
15           3.      GW 1 is the owner of that certain real property located at 8940 Four Winds Drive,
16    Windcrest, Texas 78239 (the “GW 1 Property”) and GW 2 is the owner of that certain real property
17    located at 8930 Four Winds Drive, Windcrest, Texas 78239 (the “GW 2 Property” and together
18    with the GW 1 Property, the “Properties”). The Properties are adjacent office buildings, as shown
19    in the map attached as Exhibit 1 to this Declaration.
20           4.      GW 1 is a limited liability company with two members: Aulukista, LLC, which
21    purportedly holds 68% of the membership interest in GW 1; and Global Windcrest Partners, LLC,
22    which holds 32% of the membership interests in GW 1. GW 2 is also a limited liability company
23    with the same two members holding the same respective percentage of membership interests.
24           5.      The Manager is the manager (“Manager”) of both GW 1 and GW 2. Pursuant to the
25    Debtors’ respective Operating Agreements, the Manager is vested with broad powers and authority
26    to manage the business and affairs of the Debtors.
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 1             6.    GW 1 was formed to acquire, improve, renovate, lease, and sell a recently vacated
 2    five (5) story office building on approximately 4.5 acres of land (the GW 1 Property). The GW 1
 3    Property’s $3.5 million acquisition cost was to be paid by member contributions, and the extensive
 4    anticipated construction, renovation, improvement work necessary to rehabilitate the building and
 5    make it suitable for upscale office occupancy was to be funded through debt – i.e. borrowing.
 6             7.    GW 2 was formed later, and acquired the contiguous property of approximately 3
 7    acres on which an office building with improvement possibilities and upside potential was likewise
 8    present.
 9             8.    Aulukista is indirectly owned and controlled by an entity known as Calista
10    Corporation (“Calista”) through various wholly-owned subsidiaries, all of which are under the
11    control of an individual named Sharon Lechner, who purports to be the President of each such
12    Calista subsidiary. After receiving investment documentation and asking numerous questions,
13    Calista expressed interest in providing equity for the GW 1 project (i.e. acquiring a membership
14    interest through one of its multiple subsidiaries), but only on the condition that Calista be allowed to
15    use another of its affiliates/subsidiaries as lender, providing the financing necessary to fund
16    construction, renovation, and improvement of the GW 1 Property as well.
17             9.    Ultimately, Calista agreed to acquire the majority membership interest in GW 1 by
18    and through Aulukista, with Sharon Lechner as Aulukista’s president, as Calista’s conduit.
19             10.   GW 1 was formed in April 2018 and took title to the GW 1 Property one month
20    later.   In April 2019 Calista utilized another of its wholly-owned subsidiaries, Settler’s Bay
21    Properties, Inc. (“Settler’s Bay”), with Sharon Lechner again as President, to provide the
22    renovation/construction loan necessary to rehabilitate and improve the GW 1 Property, pursuant to
23    that certain Loan Agreement dated April 19, 2019, pursuant to which GW 1 borrowed the sum of
24    $7 million. On April 22, 2019, a first position trust deed was recorded on the GW 1 Property in
25    Texas.
26             11.   These bankruptcy cases were filed as a result of pending and numerous disputes
27    between and among the Debtors, and Aulukista, Settler’s Bay and Calista, including, without
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 1    limitation, disputes regarding the refinancing of the GW 1 Property, the funding for the GW 2
 2    Property, and what the Debtors believe constitutes a coordinated scheme by Aulukista, Settler’s
 3    Bay and Calista to improperly obtain ownership of the Properties to the detriment of all other
 4    creditors and interest holders of the Debtors, as discussed in detail in that certain “Amended Cross-
 5    Complaint For Injunctive And Declaratory Relief” filed by the Debtors against Aulukista and
 6    Calista, which is pending in the Superior Court of the State of California County of San Diego,
 7    Central Division, Case No. 37-2021-0022783-CU-MC-CTL.3                A true and correct copy of the
 8    amended cross-complaint is attached as Exhibit 2 to this Declaration.
 9           12.     These bankruptcy cases were filed to stop the foreclosure sale of the GW 1 Property,
10    and provide a breathing spell for the Debtors to attempt to obtain refinancing and/or funding, and/or
11    restructure their debt obligations, on terms and in a manner that is in the best interest of all creditors
12    and interest holders. If Aulukista, Settler’s Bay, and Calista are permitted to further execute their
13    plan to improperly obtain ownership of the Properties in violation of their respective obligations
14    and duties to the Debtors and other interest holders, and a foreclosure occurs, not only would GW 1
15    lose its ownership interest in the GW 1 Property, but GW 2 will be disadvantaged because its
16    tenants will not have legal access to the amenities on the GW 1 Property pursuant to a reciprocal
17    access agreement between the Debtors, because it may very well not be able to meet its required
18    parking ratio, and GW 2 may be in breach of leases it has already executed. Moreover, assuming
19    Calista, Aulukista, Settler’s Bay and Ms. Lechner are unsuccessful in their plan to misappropriate
20    the entirety of the GW 2 Property as well, GW 2 will be competing against Calista (which will then,
21    through Settler’s Bay, own the contiguous GW 1 Property) for tenants and will be at a disadvantage
22    in doing so because of the lack of amenities and adequate parking.
23           13.     I believe that the joint administration of these cases will avoid duplicative expenses
24    and will ensure that creditors and interested parties in the cases will receive appropriate notice of all
25    pertinent matters. In addition, I believe that the joint administration of these cases, including the
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      3
27     The underlying complaint filed in that matter by Aulukista and Calista against the Debtors and the
      Manager has been dismissed, but the Debtors’ cross-complaint remains pending.
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                            EXHIBIT “1”
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8940 Fourwinds Dr - Google Maps                               https://www.google.com/maps/place/8940+Fourwinds+Dr,+Windcrest,+TX+78239/@29.52331...




                                  8930 Four Winds Drive
                                                                         8940 Four Winds Drive
                                  Windcrest, Texas
                                                                         Windcrest, Texas




1 of 1                                                                                                                           10/7/2021, 8:34 AM
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                            EXHIBIT “2”
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                  5     Attorneys for Cross-Complainants GLOBAL
                        WINDCREST I, LLC; and GLOBAL
                  6     WINDCREST II, LLC
                  7

                  8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  9                         COUNTY OF SAN DIEGO, CENTRAL DIVISION
                10
                        AULUKISTA, LLC, an Alaska Limited                Case No. 37-2021-00022783-CU-MC-CTL
                11      Liability Company; and CALISTA
                        CORPORATION, an Alaska Corporation,
                12      Plaintiffs,                                      AMENDED CROSS-COMPLAINT FOR
                                                                         INJUNCTIVE AND DECLARATORY
                13                                                       RELIEF
                        vs.
                14                                                       Judge: Hon. Ronald F. Frazier
                        GLOBAL WINDCREST I, LLC, a Delaware              Dept.: C-65
                15      Limited Liability Company; and GLOBAL
                        WINDCREST II, LLC, a Delaware Limited
                16      Liability Company; GLOBAL BUILDING,              Action Filed: May 24, 2021
                        LLC, a Delaware Limited Liability Company,
                17
                        Defendants.
                18
                        GLOBAL WINDCREST I, LLC; and GLOBAL
                19      WINDCREST II, LLC,
                        Cross-Complainants,
                20

                21      v.

                22      AULUKISTA, LLC; CALISTA
                        CORPORATION; GLOBAL BUILDING, LLC,
                23      and ROES 1-10,
                        Cross-Defendants.
                24

                25

                26            For causes of action against Cross-Defendants AULUKISTA, LLC, and its controlling

                27      parent/alter ego CALISTA CORPORATION, and each of them, GLOBAL WINDCREST I, LLC

                28      and GLOBAL WINDCREST II, LLC (collectively “Cross-Complainants”) allege as follows:
V A U GHN & V A U GHN
                                                                     1
                                  AMENDED CROSS-COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
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                  1                                                        I.
                  2                                      PRELIMINARY ALLEGATIONS
                  3             1.      All allegations of the within Cross-Complaint are set forth on information and
                  4     belief, under the doctrine of alternative pleading, without prejudice to any current or subsequent
                  5     inconsistent, contrary, or contradictory allegation, and without prejudice to Cross-Complainants’
                  6     right to plead and/or prove such different, further, separate, conflicting, or contradictory
                  7     allegations or facts at or before time of trial.
                  8             2.      No claim, cause of action, prayer for relief, or remedy requested herein is, nor
                  9     shall it be construed as, an election of remedies. All such remedies shall be preserved, and no
                10      election is intended or required until time of trial, and perhaps even after trial has concluded.
                11              3.      Other than GLOBAL BUILDING, LLC, each Cross-Defendant herein was the
                12      principal, agent, master, servant, employer, employee, entrustor, entrustee, partner, affiliate,
                13      owner, member, manager, parent, subsidiary, trustee, beneficiary, alter ego, and/or co-conspirator
                14      of each other Cross-Defendant, and of the members or owners of each entity Cross-Defendant,
                15      and acted at all relevant times within the course and scope of such relationship, capacity, or
                16      agreement.
                17                                                         II.
                18                                                     PARTIES
                19              4.      Cross-Complainants GLOBAL WINDCREST I, LLC (“GW 1”) and GLOBAL
                20      WINDCREST II, LLC (“GW 2”) are limited liability companies with their principal place of
                21      business in the County of San Diego, State of California. Cross-Defendants AULUKISTA, LLC
                22      and CALISTA CORPORATION initiated this lawsuit by suing Cross-Complainants as part of a
                23      concerted and coordinated strategy to misappropriate Cross-Complainants’ assets.
                24              5.      Cross-Defendant AULUKISTA, LLC (“Aulukista”) purports to be an Alaska
                25      limited liability company. Aulukista is a sixty-eight percent (68%) Member of GW 1 and GW 2.
                26              6.      The thirty-two percent (32%) Membership interest in both GW 1 and GW 2 is
                27      owned by Global Windcrest Partners, LLC, which is a limited liability company comprised of 10
                28      investors.
V A U GHN & V A U GHN
                                                                           2
                                     AMENDED CROSS-COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
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                  1            7.      Cross-Defendant GLOBAL BUILDING, LLC (“Global Building”) is the Manager
                  2     of both GW 1 and GW 2, has extensive experience in office development/renovation/lease-up
                  3     projects, and was also sued by the other Cross-Defendants herein as part and parcel of their
                  4     coordinated scheme to misappropriate Cross-Complainants’ assets. As Aulukista and Calista
                  5     judicially admitted by suing it, Global Building is an interested participant in the events these
                  6     former Plaintiffs alleged in their voluntarily-dismissed Verified Complaint, and is affected by the
                  7     relief Cross-Complainants seek such that Global Building is joined as a Cross-Defendant so that
                  8     the relief for which Cross-Complainants pray can be effectively obtained herein.
                  9            8.      Cross-Defendant CALISTA CORPORATION (“Calista”) is a large enterprise
                10      which conducts business through the use, manipulation, and control of multiple wholly-owned
                11      subsidiaries across the United States. Many of Calista’s subsidiaries (including those involved in
                12      the within conspiracy to misappropriate Cross-Complainants’ assets, namely Ena Holding, LLC,
                13      Tunista, Inc., Aulukista and Settler’s Bay Properties, Inc.) are controlled and directed by the same
                14      individual – Sharon Lechner. Indeed, Ms. Lechner is the president of each and every one of the
                15      wholly-owned Calista subsidiaries listed above, thereby placing her in multiple irreconcilable
                16      conflicts of interest, which different and divergent positions of authority she has utilized in an
                17      effort to perpetrate the tortious scheme detailed herein. As explained in more detail below, Ms.
                18      Lechner’s simultaneous control and manipulation of the Calista subsidiaries involved directly and
                19      indirectly in Global Windcrest appears to be the fundamental problem which requires Cross-
                20      Complainants to seek redress herein by way of expedited Injunctive Relief and a Declaratory
                21      Judgment from this Court.
                22             9.      The Organization Chart appended hereto as Exhibit A and incorporated herein
                23      illustrates the insidious interrelationships and common control whereby Calista and Ms. Lechner
                24      have manipulated their corporate servants like pieces on a chessboard to seize Cross-
                25      Complainants’ assets, and they are on the brink of doing so by charging ahead with foreclosure on
                26      the assets of GW 1 in breach of their fiduciary duties. Said Cross-Defendants have, among other
                27      malfeasance, utilized their Aulukista alter ego to prevent GW 1 from obtaining replacement
                28      financing, while simultaneously using their Settler’s Bay Inc. (“Settler’s Bay”) alter ego to
V A U GHN & V A U GHN
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                  1     foreclose upon a purportedly overdue trust deed held by Settler’s Bay on the GW 1 property such
                  2     that Calista and its alter ego subsidiaries involved herein and up with all of Cross-Complainants’
                  3     assets and the other Members, and Manager, get nothing.
                  4            10.      Based upon a unity of interest, the lack of any true formal separation, utter
                  5     dominance and control, and the use of multiple wholly-owned Calista subsidiaries to advance the
                  6     interest of other wholly-owned Calista subsidiaries and ultimately Calista itself in various
                  7     transactions (including those involved herein), it is clear that Aulukista, Settler’s Bay, Ena
                  8     Holding, LLC, Tunista, Inc. and other involved wholly-owned Calista subsidiaries such as Real
                  9     Estate Ventures, LLC are a single, unitary enterprise with each entity being the alter ego of each
                10      other wholly-owned Calista subsidiary, and controlling parent Calista itself. Additionally, based
                11      upon manipulation, dominance, the lack of independent decision-making, common control,
                12      commingling of funds, financial manipulation and internal transactions inconsistent with arms-
                13      length dealings between unrelated companies, coordination of action for the benefit of the Calista
                14      enterprise, the lack of formal separation, and a common, fraudulent, purpose, Calista is liable for
                15      the actions of each of its alter ego entities involved in Global Windcrest, and Sharon Lechner, as a
                16      result of the intentional and coordinated manipulation of each wholly owned Calista subsidiary
                17      involved herein including, but not limited to, Aulukista and Settler’s Bay. Further, recognition of
                18      the purported separate existence of Calista’s wholly-owned subsidiaries would perpetrate a fraud
                19      and an injustice in which this Honorable Court should not, and may not, indulge by exalting form
                20      over the true substance herein, namely that under all of the circumstances and facts, the alter ego
                21      doctrine is established and in equity and good conscience must be applied.
                22             11.      The true names and capacities of Cross-Defendants ROES 1–50 are presently
                23      unknown to Cross-Complainants, who sue said Cross-Defendants by such fictitious names.
                24      Cross-Complainants will amend the within Cross-Complainant to accurately set forth the true
                25      names, capacities, and involvement of such fictitiously named Cross-Defendants when the same
                26      have been ascertained.
                27      ///
                28      ///
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                  1                                                       III.
                  2                                       VENUE AND JURISDICTION
                  3            12.      Venue is proper in this judicial district because Cross-Complainants are domiciled
                  4     here, and Cross-Defendants have subjected themselves to the jurisdiction of this Court by suing
                  5     Cross-Complainants in this forum.
                  6                                                       IV.
                  7                                        FACTUAL BACKGROUND
                  8            13.      GW 1 was formed to acquire, improve, renovate, lease, and sell a recently vacated
                  9     five (5) story office building on approximately 4.5 acres of land (the “Property”) in Windcrest,
                10      Texas, a suburb of San Antonio. The Property’s $3.5 million acquisition cost was to be paid by
                11      Member contributions, and the extensive anticipated construction, renovation, improvement work
                12      necessary to rehabilitate the building and make it suitable for upscale office occupancy was to be
                13      funded through debt – i.e. borrowing. GW 2 was formed later, and acquired the contiguous
                14      property of approximately 3 acres on which an office building with improvement possibilities and
                15      upside potential was likewise present.
                16             14.      Calista had not invested in any prior projects sponsored by Global Building but
                17      had periodically reviewed potential opportunities presented by Global Building since
                18      approximately 2011. After receiving the investment documentation and asking numerous
                19      questions, Calista expressed interest in providing equity for the GW 1 project (i.e. acquiring a
                20      membership interest through one of its multiple subsidiaries), but only on the condition that
                21      Calista be allowed to use another of its affiliates/subsidiaries as lender, providing the financing
                22      necessary to fund construction, renovation, and improvement of the Property as well.
                23             15.      After numerous modifications to the deal documentation were made to
                24      accommodate Calista, including: (1) allowing it to provide construction financing for
                25      improvements to the Property through a wholly owned and controlled subsidiary as it insisted, (2)
                26      giving Calista a right of first refusal to purchase the Property, and (3) giving Calista a free office
                27      on the Property, Calista agreed to acquire the majority membership interest in GW 1, using its
                28      wholly-owned real estate investment subsidiary and alter ego, Aulukista, as the conduit. In
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                  1     actuality, however, Calista’s multifaceted involvement with GW 1 and GW 2 was essentially
                  2     placed in the hands of one person on a day-to-day basis – Sharon Lechner – who simultaneously
                  3     served as President of, among other entities in the sprawling Calista enterprise, Ena Holding,
                  4     LLC, its wholly owned subsidiary Tunista, Inc., its wholly owned subsidiary Settler’s Bay (which
                  5     Calista used to provide construction financing for GW 1), and another wholly-owned Ena
                  6     Holding, LLC subsidiary, Respondent Aulukista.
                  7              16.      GW 1 was formed in April 2018 and took title to its property (the “GW 1
                  8     Property”) one month later (i.e. in May of 2018). In April 2019 Calista utilized wholly-owned
                  9     subsidiary Settler’s Bay to provide the renovation/construction loan necessary to rehabilitate and
                10      improve the GW 1 Property. On April 22, 2019, a first position Trust Deed was recorded on the
                11      Property in Texas.
                12               17.      A few months later (in August of 2019), Sharon Lechner, who both then and now
                13      was and still is contemporaneously President of both Aulukista (68% Member) and Settler’s Bay
                14      (Lender), asserted that GW 1 should quickly locate another lender to prepay and retire the Loan,
                15      and that replacement financing should be secured by both the GW 1 Property and the GW 2
                16      property. The Manager also anticipated the need for additional financing due to increased capital
                17      costs. Based upon these considerations, including Sharon Lechner’s directive to locate
                18      replacement financing on the suggested terms, the Manager searched for a lender to satisfy these
                19      needs.
                20               18.       In mid-December 2019 (while the search for replacement financing was well
                21      underway), Aulukista/Settler’s Bay claimed that GW 1 was in default on the existing loan and
                22      dictated that, effective January 2, 2020, a default interest rate of 11% would begin accruing on the
                23      Loan. This was done in violation of the default provisions of the loan agreement which required
                24      the lender give formal notice and a 30-day period in which to correct (i.e., cure) any alleged
                25      default.
                26               19.      In December 2019 the Manager received a quote for potential financing with an
                27      anticipated interest rate in the 5.25% range. This loan would have materially benefited the
                28      Company and all of its members, as interest on the existing loan was at a rate of 7.75% per annum
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                  1     and, as noted above, 11% if the default rate was applicable as Aulukista/Settler’s Bay claimed.
                  2     On behalf of Aulukista/Settler’s Bay, Ms. Lechner subsequently purported to reject this
                  3     possibility, even though Aulukista/Settler’s Bay had no veto power over financing.
                  4          20.       In January, 2020, the Manager obtained another proposal for alternative bridge
                  5     financing on the contiguous unencumbered property owned by GW 2, which funding could be
                  6     used to pay for increased capital costs. Again, Aulukista/Settler’s Bay purported to “reject” this
                  7     solution, indicating that the proposed interest rate of 10.5% was “too high” – despite the fact they
                  8     were charging 11% on the existing loan as purported default interest. Later in January, with the
                  9     11% “default rate” still accruing, Aulukista/Settler’s Bay preemptively rejected other reasonable
                10      solutions for GW 1 and GW 2 even though the borrowing alternatives had a significantly longer
                11      term than the loan in place, which loan Ms. Lechner had previously urged should be replaced.
                12           21.       In early February, 2020, a conference call was held to discuss options for project
                13      financing. During the call, Sharon Lechner, again acting concurrently as President of Aulukista
                14      and Settler’s Bay, asserted that she wanted to keep the Settler’s Bay Loan in default “for as long
                15      as possible” so that Settler’s Bay could continue to collect interest at the elevated default interest
                16      rate. In so doing, Ms. Lechner exemplified her irreconcilable conflict of interest and divided
                17      loyalties, and the conflict between Aulukista’s duties as majority Member and Settler’s Bay’s
                18      position as lender. In breach of Aulukista’s fiduciary obligations, Ms. Lechner caused Aulukista
                19      to purportedly reject beneficial replacement financing (which she had recommended just six
                20      months earlier) so that Calista’s Settler’s Bay subsidiary (which Ms. Lechner also controlled as
                21      President), and thus Calista itself, could reap unwarranted profits at the expense of GW 1 and all
                22      of its Members.
                23           22.       On February 10, 2020, Aulukista/Settler’s Bay sent the Manager a letter reiterating
                24      their claim, on behalf of both wholly-owned Calista subsidiaries, that the loan was in default, that
                25      the “default interest rate must be charged,” and that Ms. Lechner (and the Calista subsidiaries she
                26      controlled) now would not “allow” any cross collateralization of the GW 1 and GW 2 Properties.
                27      Ms. Lechner’s startling “about-face” was an inexplicable repudiation of the course of conduct she
                28      had recommended Global Windcrest pursue just six months earlier. Mere days later, pursuant to
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                  1     the Manager’s earlier effort toward obtaining replacement financing as actually suggested by Ms.
                  2     Lechner, Cross-Complainants received a third party lender’s loan quote which would have
                  3     resolved not only current issues, but which would also provide attractive financing necessary for
                  4     the GW 2 renovation costs, as contemplated from the outset. This loan would have required that
                  5     the lender receive a security interest on both the GW I Property and the GW 2 property, which
                  6     collective financing Ms. Lechner (on behalf of Aulukista/Settler’s Bay) had herself recommended
                  7     in August of 2019, but now supposedly “rejected” in February of 2020.
                  8           23.       In retrospect, it is apparent that Ms. Lechner’s complete reversal was motivated by
                  9     her intent to misappropriate Cross-Complainants’ property through manipulation of the various
                10      Calista subsidiaries she controlled. It was also a violation of both Global Windcrest Operating
                11      Agreements because, among other rights, the Manager has the power to obtain financing
                12      consistent with the investment plan of both companies, which plan (as Aulukista agreed) explicitly
                13      contemplated loans would be obtained to fund the improvements all parties understood from the
                14      very beginning were necessary to advance each of these projects. In other words, as discussed in
                15      more detail below, Aulukista/Settler’s Bay had no right or “veto power” to interfere with this
                16      financing for multiple reasons. The Manager, however, continued to look for solutions acceptable
                17      to all Members, rather than taking a categorical, adversarial, legal stand at that time.
                18            24.       In early/mid-March, 2020, after extensive and diligent negotiation by the Manager
                19      and efforts to mitigate potential risks by obtaining longer term financing for improvements to the
                20      GW 1 Property, the Manager was able to secure revised proposed financing from the same lender
                21      for both GW 1 and GW 2 with the cross collateralization requirement removed. Both of these
                22      loans required additional capital from the members of GW 1 and GW 2, and this revised proposal
                23      was immediately provided to Aulukista/Settler’s Bay which responded (through Ms. Lechner)
                24      nearly 2 weeks later that this new financing would be only partially “approved” and, even in that
                25      instance, all principal and interest at the default rate must be paid to Settler’s Bay. Due to Ms.
                26      Lechner’s delay, this lender indicated that they could no longer commit to provide financing at the
                27      favorable 5.25% interest rate they had quoted; the rate would, however, still be significantly below
                28      the 11% default rate which Aulukista/Settler’s Bay continued to demand.
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                  1           25.       In purporting to reject this proposal, Ms. Lechner admitted her true motivation was
                  2     to benefit Aulukista/Settler’s Bay/Calista without regard to the interests of either Global Windcrest
                  3     entity or other Members. Specifically, Ms. Lechner admitted she was “rejecting” this solution
                  4     because: “[Our] interest income dries up to zero when the [Settler’s Bay loan] is paid off so [our]
                  5     earnings go away...” Ms. Lechner further exemplified the irreconcilable conflict of the dual roles
                  6     she continued to occupy by asserting that: “Because someone else steps into my shoes as lender, I
                  7     suddenly place my entire equity, which is now $1.5 m or so larger than before, at risk of loss!” Ms.
                  8     Lechner’s purported rejection of this favorable alternative financing for these reasons is an
                  9     outright admission that she placed the interest of Settler’s Bay – and the ultimate beneficiary of
                10      excessive interest based upon her fabricated defaults, Calista – ahead of the interests of the LLCs
                11      to which Aulukista owed a fiduciary duty, ahead of the interests of the minority Member to which
                12      fiduciary duties were likewise owed under the circumstances presented herein, and even ahead of
                13      the interest of Aulukista if it was truly an independent Member of Global Windcrest, because all
                14      Members would benefit from a lower interest rate and other beneficial terms. Clearly, no such
                15      independence exists and Ms. Lechner’s conduct while in an irreconcilable conflict of interest, and
                16      her actual admissions to this effect, constitute patent breaches of fiduciary duty.
                17            26.       Later, Aulukista/Settler’s Bay purportedly offered to take the loan out of default,
                18      but only after seeking to extract numerous concessions from GW 1, including an agreement that
                19      GW 1 acquiesce to raising the base interest rate from 7.75% to 8.5% for the remainder of its term.
                20      This extortionate demand sought to coerce GW 1 to embrace an interest rate much higher than any
                21      of the rates proposed by a potential lender, and significantly higher than the initial approximately
                22      5.25% rate which could have been obtained had Aulukista/Settler’s Bay not breached the
                23      Operating Agreement and their fiduciary duties by purporting to “disapprove” this beneficial
                24      opportunity when it was first presented. Cross-Complainants could not agree to these Cross-
                25      Defendants’ self-serving loan modification and other overreaching conditions, and
                26      Aulukista/Settler’s Bay continues to demand that the default interest be paid. Indeed, Ms. Lechner
                27      has caused Settler’s Bay to initiate and aggressively pursue foreclosure on the GW 1 Property,
                28      which would eliminate the interest of all other parties in this project – even Aulukista itself.
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                  1            27.       This conduct by Cross-Defendants Aulukista/Settler’s Bay and Calista impeded
                  2     Cross-Complainants from obtaining financing on terms which were more favorable to GW 1, did
                  3     not provide any means to finance future tenant improvements on either property, and exposes
                  4     Cross-Complainants to imminent loss of their property since the loan is purportedly all due and
                  5     payable and Cross-Defendants Aulukista/Settler’s Bay and Calista have refused to honor GW 1’s
                  6     loan extension rights. Cross-Complainants duly exercised their right to extend the term of the loan,
                  7     but said Cross-Defendants continue to rely upon their purported contrived “defaults” and other
                  8     meritless, falsified contentions as a supposed basis for illegally and improperly refusing to comply
                  9     with the terms of that extension – so that they can misappropriate the Property through the artifice
                10      of having Settler’s Bay foreclose thereon. Cross-Defendants demands and insistence they have
                11      veto power over financing continues to violate the Operating Agreements, are the product of an
                12      irreconcilable conflict of interest, constitute patent breaches of fiduciary duty, are an impediment
                13      to the necessary financing, and expose Cross-Complainants to imminent, irreparable, and
                14      irremediable harm. Ms. Lechner’s plan is now clear: use “her” Settler’s Bay loan to foreclose
                15      upon the GW 1 Property by preventing the LLCs from obtaining any financing which would
                16      replace said loan while relying upon contrived, nonsensical, “defaults” which have been utterly
                17      refuted as a meritless justification for refusing to comply with GW 1’s right to extend the Loan.
                18             28.       Cross-Defendants Calista and Sharon Lechner employed similar tactics with
                19      respect to GW 2. Just as in GW 1, Calista and Ms. Lechner required that Calista (or one of its
                20      multiple subsidiaries) have the first right of refusal to provide financing for renovation of the GW
                21      2 property which is contiguous to that owned by GW 1, through an entity known as Real Estate
                22      Ventures, LLC, another Calista subsidiary which is likewise controlled by none other than Sharon
                23      Lechner. In this instance, although all parties intended and agreed that renovation of the GW 2
                24      property would be funded through borrowing, such a loan was not initially needed or taken. GW 2
                25      subsequently obtained a loan commitment from a third party lender. Ms. Lechner, however,
                26      objected to this financing and, instead, demanded these necessary funds be obtained through a
                27      member “capital call” or, alternatively, “she” would provide a loan at a “little” higher interest rate
                28      with a “little” higher loan fees.
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                  1            29.         Cross-Defendants Aulukista and Calista breached the Operating Agreement by
                  2     attempting to extract more money from GW 2 while the governing document gave them only a
                  3     first right of refusal to match said third-party terms, and accompanied this extortionate proposal
                  4     with a demand that extensive modifications beneficial only to Calista and its wholly owned
                  5     subsidiaries be made to the Operating Agreement. Although neither Aulukista, Calista, nor Ms.
                  6     Lechner had the right to dictate that a capital call must instead be used, or the right to purportedly
                  7     “disapprove” lower cost borrowing in favor of their own higher cost loan and unfavorable
                  8     modifications to the Operating Agreement, GW 2 was compelled to acquiesce to the use of a
                  9     capital call.
                10             30.         When the minority Member indicated it would not be able to fund its portion of the
                11      capital call upon which the Calista Cross-Defendants insisted, Ms. Lechner then came up with the
                12      idea to “loan” the minority Member the amount necessary to meet its portion of the capital call –
                13      while securing said loan by the minority Member’s interest in GW 2. In retrospect, Ms. Lechner’s
                14      illegal plan to seize the assets of both Cross-Complainants is now even more clear: (1) prevent any
                15      replacement of her Settler’s Bay loan so that Calista can increase the amount supposedly owed
                16      thereon and foreclose it, eliminating the minority Member and the Manager while seizing this
                17      Property for itself; (2) dictate in violation of the Operating Agreement that financing on the GW 2
                18      Property cannot be obtained, thereby preventing Cross-Complainants from accessing this source of
                19      funding, (3) insist that a capital call be made for a short term sum then agree to “loan” money to
                20      the minority Member of GW 2 secured by the minority Member’s interest in GW 2 and, finally,
                21      (4) foreclose on the minority Member’s interest, with Calista ultimately owning the entirety of
                22      both multimillion dollar properties.
                23             31.         During this same period of time, while purporting to “veto” necessary financing
                24      through available loans if such a borrowing was secured by both properties, Ms. Lechner
                25      nevertheless encouraged GW 1 to give tenants of the GW 2 Property access to common areas on
                26      the GW 1 Property by entering into a “reciprocal access agreement.” Such an arrangement would
                27      benefit GW 2’s tenants because it would provide them the ability to use amenities on Cross-
                28      Complainants’ other Property not present on the GW 2 property. Ms. Lechner was also aware of,
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                  1     and never objected to, an arrangement whereby GW 1 will transfer to GW 2 a portion of the
                  2     former’s Property without receiving any return monetary consideration, so that GW 2 can meet its
                  3     required ratio of parking spaces for tenants in the building on GW 2 Property. These arrangements
                  4     were disclosed to and permitted by Ms. Lechner, who indeed actively encouraged the reciprocal
                  5     access agreement even while she intended to generate fabricated purported “defaults” under which
                  6     Calista and its alter ego subsidiaries which she controls can obtain ownership of the GW 1
                  7     Property through foreclosure. If this occurs, GW 2 will be disadvantaged because its tenants will
                  8     not have legal access to the amenities on the GW 1 Property, because it may very well not be able
                  9     to meet its required parking ratio, and GW 2 may be in breach of leases it has already executed.
                10      Moreover, assuming the Calista Cross-Defendants are unsuccessful in the second phase of their
                11      plan to misappropriate the entirety of the GW 2 property as well, GW 2 will be competing against
                12      Calista (which will then, through Settler’s Bay, own the contiguous GW 1 Property) for tenants
                13      and will be at a disadvantage in doing so because of the lack of amenities and adequate parking.
                14            32.       Thus, Ms. Lechner, Aulukista and Calista have again breached their duties to GW
                15      2 because Cross-Defendants have favored their own interest in maneuvering to foreclose on the
                16      GW 1 Property which imposes these undesirable consequences with significant financial impact
                17      upon GW 2. Such conduct is, again, the product of an irreconcilable conflict of interest whereby
                18      Sharon Lechner is manipulating the various Calista entities involved in these transactions so that
                19      her corporate patron profits, while the LLCs are disadvantaged – and indeed destroyed by design –
                20      with Calista owning all of the assets at the end of the day.
                21                                                        V.
                22                                         FIRST CAUSE OF ACTION
                23                               (Declaratory Relief Against all Cross-Defendants)
                24            33.       Cross-Complainants incorporate by reference as though fully set forth again at this
                25      place paragraphs 1 through 32, above.
                26            34.       Aulukista is a Member of GW 1 and a signatory to the GW 1 Operating
                27      Agreement. Aulukista is also a Member of GW 2 and a signatory to the GW 2 Operating
                28      Agreement. Calista, by design, secured numerous rights beneficial only to itself in the Global
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                  1     Windcrest Operating Agreements and thereby, and otherwise, directed, ratified and adopted the
                  2     provisions thereof, binding it to the terms thereof, in addition to their applicability by virtue of the
                  3     fact Calista is the alter ego of Aulukista, Settler’s Bay, and its other involved subsidiaries.
                  4            35.      The GW 1 and GW 2 Operating Agreements and incorporated documentation are
                  5     written instruments and contracts in which both Cross-Complainants and Cross-Defendants are
                  6     interested, and pertain to Cross-Complainants’ investment real property.
                  7            36.      An actual and justiciable controversy exists with respect to the parties’ rights and
                  8     duties in the premises, including the question of construction of the subject written instruments.
                  9            37.      Specifically, by way of example and not limitation, Cross-Complainants contend
                10      that, under the Operating Agreements, their associated documentation, and Cross-Defendants’
                11      express agreement, financing was expressly contemplated and is a component of the investment
                12      plan to which Cross-Defendants agreed, and does not require consent or approval by Aulukista or
                13      Calista. Cross-Defendants Aulukista and Calista, however, contend they had and have the power
                14      and authority to dictate the terms of all Global Windcrest borrowing, and contend that they are
                15      empowered to prevent such borrowing entirely if they wish to do so in their sole and unfettered
                16      discretion – without regard to the impact on Cross-Complainants and/or their property. Cross-
                17      Defendants Aulukista and Calista have, on this basis, impeded and prevented replacement
                18      financing from being obtained. Thus, a declaration of the parties’ rights and duties under the
                19      Operating Agreements with respect to this financing issue is immediately, indeed urgently,
                20      necessary.
                21             38.      Finally, a Judicial Declaration of the parties’ rights and duties under the Operating
                22      Agreements is essential because, even assuming arguendo the incorrect interpretation of the
                23      Operating Agreements urged by Aulukista and Calista is accurate when it is not, said Cross-
                24      Defendants’ conflicts of interest in utilizing Aulukista to prevent replacement financing so that
                25      Settler’s Bay can foreclose disqualifies any voting or approval rights they might otherwise have on
                26      these subjects, even if such rights existed, which is expressly denied. The concept that a party in a
                27      partnership relationship can do wrong but prevent any recourse against them for those misdeeds by
                28      voting against it is insanity which the law does not – and cannot – embrace.
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                  1           39.       Thus, an immediate and urgent declaration of the parties’ rights and duties under
                  2     the Operating Agreements in the factual context presented herein is essential because, otherwise,
                  3     Cross-Complainants’ unique and irreplaceable real property will be irretrievably lost.
                  4           40.       Further, because actual sale in the pending foreclosure of the GW 1 Property is
                  5     imminent, injunctive relief in the form of a Temporary Restraining Order and Preliminary
                  6     Injunction is essential to preserve the status quo and prevent irremediable injury through Cross-
                  7     Complainants’ loss of this valuable real property. Such disastrous forfeiture can be averted by
                  8     obtaining replacement financing to extinguish the debt being foreclosed upon by Settler’s Bay at
                  9     the instance of Cross-Defendants Aulukista and Calista. In order to obtain such replacement
                10      financing, Cross-Complainants must have this Court’s order permitting them to do so, without
                11      interference or objection by Cross-Defendants Aulukista and Calista. Without such interim relief,
                12      replacement financing cannot be obtained and, in the absence thereof, the Settler’s Bay debt upon
                13      which the pending foreclosure is based cannot be extinguished and replaced.
                14              WHEREFORE, Cross-Complainants, and each of them, pray for Judgment as follows:
                15                     1.      For a declaration of the parties’ rights and duties under the involved
                16      portions of the GW 1 and GW 2 Operating Agreements in the factual context presented herein;
                17                     2.      For an immediate expedited trial pursuant to California Code of Civil
                18      Procedure section 1060;
                19                     3.      For temporary, preliminary, and permanent injunctive relief to preserve the
                20      status quo and prevent irretrievable injury and irreparable loss to Cross-Complainants, and;
                21                     3.      For such other and further relief as the Court may deem just and proper.
                22      Dated: July 15, 2021                             VAUGHN & VAUGHN
                23
                                                                     By: /s/ Donald Vaughn___________________
                24
                                                                         DONALD A. VAUGHN
                25                                                       Attorneys for Cross-Complainants, GLOBAL
                                                                         WINDCREST I, LLC and GLOBAL
                26                                                       WINDCREST II, LLC
                27

                28
V A U GHN & V A U GHN
                                                                         14
                                    AMENDED CROSS-COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF
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                              EXHIBIT A
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                                                                         35

                                                Global Windcrest I, LLC

 Calista Owned Equity                                                                                               Calista Owned Debt
                                                                Calista, Inc.
                                                                An Alaska corporation
    Aulukista, LLC                                          “100% Beneficial Owner
  An Alaska limited liability                                 of All Subsidiaries”
         company
Sharon Lechner, President
68% Majority Owner of Global                                       100% Owner
      Windcrest I, LLC

      AULUKISTA HAS                                           Ena Holding, LLC.                                        Tunista, Inc.
MALICIOUSLY AND FALSELY                                       An Alaska limited liability
    ASSERTED THAT IT’S              100% Owner                                                  100% Owner          An Alaska corporation
                                                                     company
 MAJORITY VOTING RIGHTS
                                                            Sharon Lechner, President                            Sharon Lechner, President
 ALLOW IT TO APPROVE ALL
DEBT AND HAS REFUSED TO
 CONSENT TO LOWER RISK,
   LOWER COST DEBT TO                                                                                                   100% Owner
REPLACE THE EXISTING DEBT
    OF IT’S OWN SISTER
 COMPANY “SETTLER’S BAY
                                                                                                                      Settler’s Bay
     PROPERTIES, INC.”                                                                                               Properties, Inc.
                                                                                                                     An Alaska corporation
                                                                                                                 Sharon Lechner, President
   68% of the Equity                                                                                                Lender in 1st Lien Position
                                                             Global Windcrest I,
                                                                    LLC                                             SETTLER’S BAY IS NOW
                                                              A Delaware limited liability    100% of the Debt         ATTEMPTING TO
                                                                        company                                  FORECLOSE ON THE PRIMARY
                                                               Owns 81,555 square foot                            REAL ESTATE ASSET OWNED
                                                               recently remodeled office                         BY GLOBAL WINDCREST I, LLC
   32% of the Equity                                         building located in Windcrest,                      IN COORDINATION WITH IT’S
                                                                          Texas                                       SISTER COMPANY
                                                                                                                      “AULUKISTA, LLC”
                                                                                                                   THAT WILL WIPE OUT THE
                                          Property Manager                                                         EQUITY OF THE MINORITY
 Global Windcrest                                                                                                         PARTNER,
                                                                                                                     GLOBAL WINDCREST
   Partners, LLC                        Global CRES, Inc.                                                               PARTNERS, LLC
 A Delaware limited liability
          company                        A California corporation
Global Building, LLC, Manager            holding a corporate real
32% Minority Owner of Global           estate license from the State
       Windcrest I, LLC                         of California                                                    Calista Corporation
                                          100% Owned by Global
           Owners:
                                                  Building                                                        Settlement Trust
1. Natives of Kodiak Sharehol der
               Trust                                                                                                Controlled by Calista, Inc.
  2. Tammax, LLC (Max Di Leo)
    3. Becker Properties, LLC                                      LLC Manager
4. Aviara Carlsbad (Kerry Marsh)
 5. Carl Kuhn (HooDoo Capit al)
        6. Dr. Girish Patel
          7. Newday, LLC
        8. James T. Smit h
                                                            Global Building, LLC
9. The CW T Lewis Exempt Family                               A Delaware limited liability
               Trust                                                 company
      10. Giancarlo Garonna
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                                        35




                            EXHIBIT “3”
         Case 21-03935-LT11               Filed 10/07/21           Entered 10/07/21 16:17:52             Doc 11       Pg. 31 of
CSD 1001A [07/01/18]                                                 35
Name, Address, Telephone No. & I.D. No.

 Ron Bender (SBN 143364)
 Krikor J. Meshefejian (SBN 255030)
 Levene, Neale, Bender, Yoo & Brill L.L.P.
 2818 La Cienega Avenue
 Los Angeles, CA 90034
 Tel: (310) 229-1234
 Email: RB@LNBYB.COM; KJM@LNBYB.COM

              UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
                 325 West F Street, San Diego, California 92101-6991

 In Re
                                                                                     BANKRUPTCY NO. 21-03935-LT11
 GLOBAL WINDCREST I, LLC
                                                                                     Date of Hearing: N/A
                                                                                     Time of Hearing: N/A.
                                                                                     Name of Judge: Hon. Laura S. Taylor
                                                                           Debtor.


                                                                   ORDER ON
      EMERGENCY MOTION FOR ENTRY OF AN ORDER FOR JOINT ADMINISTRATION OF RELATED CHAPTER
                                          11 CASES


           The court orders as set forth on the continuation pages attached and numbered 2 through 3 with exhibits, if any, for

 a total of 3 pages. Motion/Application Docket Entry No.               .

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 DATED:
                                                                            Judge, United States Bankruptcy Court
        Case 21-03935-LT11            Filed 10/07/21        Entered 10/07/21 16:17:52            Doc 11      Pg. 32 of
                                                              35
CSD 1001A [07/01/18]                                                                                              Page 2 of 2

 ORDER ON EMERGENCY MOTION FOR ENTRY OF AN ORDER FOR JOINT ADMINISTRATION OF RELATED
 CHAPTER 11 CASES
 DEBTOR:
 GLOBAL WINDCREST I, LLC                                          CASE NO: 21-03935-LT11


 The Court, having read and considered that certain "Debtor's Ex Parte Motion For Entry Of AN Order For Joint
 Administration Of Related Chapter 11 Cases Pursuant To Rule 1015(b) Of The Federal Rules Of Bankruptcy Procedure
 And Rule 1015 Of The Local bankruptcy Rules" (the "Motion") [Doc ___] filed by Global Windcrest I, LLC, chapter 11
 debtor and debtor in possession (the "Debtor"), with good cause appearing, orders as follows:

 1. The Motion is granted on an interim basis. The Debtor shall provide notice of the entry of this order to all creditors,
 and such creditors shall have fourteen days from the date of service of the notice of the entry of this order to file an
 opposition to the Motion. If an opposition is not timely filed, the Debtor shall lodge an order with the Court granting the
 Motion on an final basis.

 2. Until further Court order, and on an interim basis, all future filings, lodging and docketing of pleadings, orders, and
 other papers served or filed in the In re Global Windcrest I, LLC case (Case No. 21-03935-LT11) or in the In re Global
 Windcrest II, LLC case (Case No. 21-03938-LT11) shall be filed, lodged, or docketed under the lead case number
 assigned to Global Windcrest I, LLC (Case No. 21-03935-LT11). The caption shall be modified to reflect the joint
 adminsitration of the cases in the form set forth in Exhibit A attached to this Order.

 3. Until further Court order, and on an interim basis, for all future filings in the cases, a combined service list shall be
 used and combined notices shall be sent to creditors.

 4. Notwithstanding anything contained herein or in the Motion, separate claims registers shall be maintained for the
 cases.

 5. Any deviation from these procedures will be by order of the Court.

 IT IS SO ORDERED.




CSD 1001A
     Case 21-03935-LT11        Filed 10/07/21   Entered 10/07/21 16:17:52    Doc 11    Pg. 33 of
                                                  35



 1                                          EXHIBIT A
 2

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 7

 8                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
 9
     In re:                                       Case No.: 21-03935-LT11
10
     GLOBAL WINDCREST I, LLC,                     [Jointly administered with: 21-03938-LT11]
11

12                        Debtor.                 Chapter 11 Cases

13   _________________________________
     In re:
14
     GLOBAL WINDCREST II, LLC
15

16                        Debtor.

17   _________________________________

18      Affects both Debtors
19     Affects Global Windcrest I, LLC
20
       Affects Global Windcrest II, LLC
21

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                                                    1
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                                                            35


  1                                 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067.
  3
      A true and correct copy of the foregoing document entitled DEBTOR’S EMERGENCY MOTION FOR
  4   ENTRY OF AN ORDER FOR JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES
      PURSUANT TO RULE 1015(b) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
  5   RULE 1015 OF THE LOCAL BANKRUPTCY RULES; DECLARATION OF C.W. TUCKER LEWIS IN
      SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
  6   required by LBR 5005-2(d); and (b) in the manner stated below:

  7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  8   hyperlink to the document. On October 7, 2021, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
  9   to receive NEF transmission at the email addresses stated below:

 10        Ron Bender rb@lnbyb.com, bry@lnbyb.com
           Krikor John Meshefejian kjm@lnbyb.com
 11        Kristin Mihelic Kristin.T.Mihelic@usdoj.gov,
             tiffany.l.carroll@usdoj.gov,abram.s.feuerstein@usdoj.gov
 12
           United States Trustee ustp.region15@usdoj.go
 13
      2. SERVED BY UNITED STATES MAIL: On October 7, 2021, I served the following persons and/or
 14   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 15   completed no later than 24 hours after the document is filed.
 16                                                                           Service information continued on attached page
 17   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 18   on October 7, 2021, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 19   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 20
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
 21   true and correct.

 22    October 7, 2021                          Lisa Masse                               /s/ Lisa Masse
       Date                                    Type Name                                 Signature
 23
 24
 25
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
               Case 21-03935-LT11          Filed 10/07/21      Entered 10/07/21 16:17:52      Doc 11       Pg. 35 of
Label Matrix for local noticing                                   35
                                              Global Windcrest I, LLC                      United States Trustee
0974-3                                        1947 Camino Vida Roble                       Office of the U.S. Trustee
Case 21-03935-LT11                            Suite 280                                    880 Front Street
Southern District of California               Carlsbad, CA 92008-6540                      Suite 3230
San Diego                                                                                  San Diego, CA 92101-8897
Thu Oct 7 15:20:05 PDT 2021
U.S. Bankruptcy Court                         Big Sun Community Solar                      CPS Energy
Jacob Weinberger U.S. Courthouse              110 E Houston St. 7th Floor                  PO Box 2678
325 West F Street                             San Antonio, TX 78205-2991                   San Antonio, TX 78289-0001
San Diego, CA 92101-6991


Cogency Global Inc.                           GFS Industries, LLC                          Global Building, LLC
1601 Elm Street                               24165 IH-10 W, Suite 217-138                 1947 Camino Vida Roble, Suite 280
Suite 4360                                    San Antonio, TX 78257-1449                   Carlsbad, CA 92008-6540
Dallas, TX 75201-4701


Global CRES, Inc.                             Jackson Walker, LLP                          Kristin Mihelic
1947 Camino Vida Roble, Suite 280             2323 Ross Avenue                             Office of the U.S. Trustee
Carlsbad, CA 92008-6540                       Suite 600                                    880 Front Street Suite 3230
                                              Dallas, TX 75201-2725                        San Diego, CA 92101-8897


Langley & Banack Incorporated                 Lawmen Security, Inc                         Oracle Elevator Holdco, Inc
Attn: Steven R. Brook                         PO Box 700031                                Dept # 9901, PO Box 850001
745 East Mulberry, Suite 700                  San Antonio, TX 78270-0031                   Orlando, FL 32885-9901
San Antonio, TX 78212-3172


PointHR, Inc.                                 Settler’s Bay Properties, Inc.               Tabco Enterprises, Inc.
3535 Firewheel Dr., Suite B                   3301 Denali Street                           18023 Gable Oak Lane
Flower Mound, TX 75028-7719                   Suite 300                                    Cypress, TX 77433-2190
                                              Anchorage, AK 99503-4051


Vaughn & Vaughn                               Worldwide Pest Control                       Krikor John Meshefejian
501 West Broadway Street                      5808 IH 10 West                              Levene, Neale, Bender, Yoo & Brill L.L.P
Suite 1025                                    San Antonio, TX 78201-2851                   2818 La Cienega Avenue
San Diego, CA 92101-3546                                                                   Los Angeles, CA 90034-2645


Ron Bender                                    End of Label Matrix
Levene, Neale, Bender, Yoo & Brill L.L.P      Mailable recipients     21
2818 La Cienega Avenue                        Bypassed recipients      0
Los Angeles, CA 90034-2645                    Total                   21
